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UNITED STATES DISTRICT COURT ] 5
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SOUTHERN DISTRICT OF NEW YORK | MISC 9 0 5

In re Application of XPO LOGISTICS, INC. for an :
Order Pursuant to 28 U.S.C. § 1782 to Conduct
Expedited Discovery for Use in an Expedited

Foreign Proceeding, ECF Case:

Petitioner.

 

DECLARATION OF EMMANUEL BROCHIER
IN SUPPORT OF EX PARTE APPLICATION OF XPO LOGISTICS, INC.
FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782 TO CONDUCT
EXPEDITED DISCOVERY FOR USE IN AN EXPEDITED FOREIGN PROCEEDING

Emmanuel Brochier, of 69 avenue Victor Hugo, 75116 Paris, France, declares and
says, pursuant to 28 U.S.C. § 1746 as follows:

1, I am a lawyer and a partner at Darrois Villey Maillot Brochier, a French law firm
at the above address. I am a member of the Paris bar. A copy of my curriculum
vitae is attached to this Declaration as Exhibit 1.

2. I am providing this declaration on behalf of XPO Logistics, Inc. (“XPO”), in
connection with XPO’s application to the U.S. District Court for the Southern
District of New York under 28 U.S.C. § 1782 (the “Section 1782 Application”)
for discovery in aid of a foreign proceeding in the Paris Commercial Court (the
“French Action”).

3. I represent XPO and XPO Logistics France, the plaintiffs in the French Action.
The defendants in the French Action are Elliott Capital Advisors, L.P. (“Elliott

Capital’), Elliott Associates, L.P. (“Elliott Associates’), Elliott International,
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L.P. (“Elliott International”), and The Liverpool Limited Partnership
(“Liverpool”, collectively with Elliott Capital and Elliott Associates, “Elliott”).
This Declaration describes relevant French law as I understand it to be. Insofar as
the content of this Declaration is within my personal knowledge, it is true. Insofar
as it is not within my personal knowledge, it is true to the best of my knowledge,

information and belief.

FRENCH CIVIL PROCEDURE

5.

Under the Code de procedure civile, which applies to the French Action, each
party has the burden of providing evidence for the facts that it alleges (Article 9).
In addition, French legal practice has not included the American-English principle
that requires parties to civil cases to produce evidence contrary to their own
interests.

While a party may ask a French court to order the production of a document,
under French law the party seeking discovery is required to identify the precise
document that it is requesting (for example, a particular contract).

For example, it is not sufficient to request that the French court order a party to
produce documents that concern a specific relevant subject matter. The actual
document must be specifically identified to the court before the French court will
consider ordering its production. Cass Com 12 mars 1979, Bull Civ Iv n°97; Cass
2eme Civ 15 Mars 1979; CA Paris, November 25, 2014 n°12/21950.

In this case, the central issues are hidden arrangements between Elliott and other
entities, and the hidden intent of Elliott in accumulating its position in ND shares.
Under French civil procedure, the correspondence and other documents that

would prove such arrangements and facts would not be subject to discovery
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absent specific information concerning the actual documents that would contain
such proof. XPO has no such specifics regarding documentation.

For the reasons explained above, a French court would generally lack the ability
to order production of the documents sought through the Section 1782
Application.

In addition, additional constraints apply to documents located abroad, which
would make it impossible for a French court to order the production of any
documents held in the United States in the timeframe applicable here. And in
general French legal practice, there are no depositions in civil litigation.

While the Paris Commercial Court could not order the production of the requested
documents, it could receive documents collected in the United States. Those
documents would be available subject to all parties’ ability to access them in the
French proceedings. XPO could present the evidence obtained through the
Section 1782 Application at the hearing on the freezing order scheduled for July
23, 2015, or at the full hearing on the merits of the litigation scheduled for
September 29, 2015.

Neither French law nor the rules of the Paris Commercial Court forbid the use in
the French Action of the relevant information that XPO seeks through its Section
1782 Application.

Accordingly, it is respectfully requested that this Court assist XPO in obtaining
the information requested in the proposed subpoenas attached to this Section 1782

Application for use in the French Action.
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I declare under penalty of perjury under the laws of the United States of America

bflo
f a BROCHIER

that the foregoing is true and correct.

executed at Paris, France on July 10, 2015,

 

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